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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )
                                    )
          v.                        )
                                    )                 4:06CR3062
ROBERT BERLIE,                      )
                                    )
                 Defendant.         )
                                    )                    ORDER




     The defendant’s guilty plea has been accepted by the court.
18 U.S.C. § 3143 requires that defendant be detained unless one
of several circumstances is shown “by clear and convincing
evidence” that conditions exist to reasonably assure the
defendant will appear for sentencing and not pose a danger to the
community.   No such circumstance or evidence is before me.


     IT THEREFORE HEREBY IS ORDERED,

     Defendant’s oral motion for release on conditions, made
during the hearing before the court on August 14, 2006, is
denied.

     DATED this 6th day of September, 2006.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
